                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )         MATTICE/STEGER
                                               )
        v.                                     )         CASE NO. 1:15-CR-12
                                               )
 JESSE ALAN TRIMUE                             )


                                             ORDER

        On September 29, 2015, Magistrate Judge Christopher H. Steger filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

 included offense in Count Two of the Superseding Indictment, conspiracy to distribute and possess

 with intent to distribute five grams or more of methamphetamine actual and fifty grams or more of

 a mixture and substance containing methamphetamine, in violation of 21 USC '' 846 and

 841(b)(1)(B), in exchange for the undertakings made by the government in the written plea

 agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in the lesser included

 offense in Count Two of the Superseding Indictment; (c) that a decision on whether to accept the

 plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody pending

 sentencing in this matter (Doc. 245). Neither party filed an objection within the given fourteen

 days. After reviewing the record, the Court agrees with the magistrate judge=s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge=s

 report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as follows:

        (1) Defendant=s plea of guilty to the lesser included offense in Count Two of the

 Superseding Indictment, in exchange for the undertakings made by the government in the written

 plea agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included



Case 1:15-cr-00012-TRM-CHS           Document 259         Filed 11/02/15     Page 1 of 2      PageID
                                           #: 976
 offense in Count Two of the Superseding Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 March 14, 2016, at 2:00 pm.

        SO ORDERED.

        ENTER:


                                                         /s/ Harry S. Mattice, Jr._______
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




                                              2


Case 1:15-cr-00012-TRM-CHS         Document 259        Filed 11/02/15   Page 2 of 2   PageID
                                         #: 977
